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 1
                           IN THE UNITED STATES DISTRICT COURT
 2
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
                                     SAN FRANCISCO DIVISION
 4
      FOOD & WATER WATCH, INC, et al.,
 5
 6                           Plaintiffs,                Case No.: 17-cv-02162-EMC
 7                    v.
                                                        TENTH JOINT STATUS REPORT
 8    U.S. ENVIRONMENTAL PROTECTION
 9    AGENCY, et al.,

10                           Defendants.
11
            The parties submit the following Tenth Joint Status Report:
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            The parties have begun meeting and conferring about various matters related to pre-trial
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     documents and trial. One issue that the parties intend to jointly raise with the Court regards the
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     format in which exhibits will be produced and displayed at trial. The parties intend to jointly ask
15
     the Court to permit the exhibits to be produced and displayed electronically, rather than in hard
16
     copy form. The parties believe this will allow for a more efficient display of evidence at trial.
17
18   Dated: November 27, 2023                              Respectfully submitted,
19
                                                           Michael Connett
20                                                         MICHAEL CONNETT
                                                           WATERS, KRAUS & PAUL
21                                                         11601 Wilshire Blvd., Suite 1900
                                                           Los Angeles, CA 90025
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23                                                         Attorneys for Plaintiffs

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                                                                         CASE NO. 17-CV-02162-EMC
                                                                         TENTH JOINT STATUS REPORT
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     Dated: November 27, 2023                /s/ Brandon N. Adkins (with permission)
 1
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                                             United States Department of Justice
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                                             Division
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                                                          CASE NO. 17-CV-02162-EMC
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         Case 3:17-cv-02162-EMC Document 368 Filed 11/27/23 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE
 2          I hereby certify that a true and correct copy of the foregoing Tenth Joint Status Report
 3   was served by Notice of Electronic Filing this 27th day of November, 2023, upon all ECF
 4   registered counsel of record using the Court’s CM/ECF system.
 5
                                                        /s/ Michael Connett
 6                                                      MICHAEL CONNETT
                                                        Attorney for Plaintiffs
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                                                                      TENTH JOINT STATUS REPORT
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